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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 05-0157CCC
 1) BRAULIO AGOSTO-VEGA
 (Counts One, Two, Three and Four)
 2) JUAN AGOSTO-VEGA
 (Counts One, Two, Three and Four)
 3) BRAULIO AGOSTO MOTORS, INC.
 (Counts Two and Three)
 Defendants
                                         ORDER
       Having considered the Report and Recommendation filed on February 1, 2007 (docket
entry 90) on a Rule 11 proceeding of defendant Juan Agosto-Vega held before Magistrate
Judge Bruce J. McGiverin on January 31, 2007, to which no opposition has been filed, the
same is APPROVED. Accordingly, the plea of guilty of defendant Juan Agosto-Vega is
accepted. The Court FINDS that his/her plea was voluntary and intelligently entered with
awareness of his/her rights and the consequences of pleading guilty and contain all elements of
the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since January 31, 2006. The sentencing hearing is set for May 3,
2007 at 4:15 PM.
     SO ORDERED.
       At San Juan, Puerto Rico, on February 6, 2007.




                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
